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 3
     Attorney for defendant,
 4   Francisco Arrellanez
 5
                           UNITED STATES DISTRICT COURT
 6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                              ) Case No. 13-CRS-227 GEB
     UNITED STATES OF AMERICA,  )
 9                              ) STIPULATION AND PROPOSED
               Plaintiff,       ) ORDER SETTING DATE FOR
10                              ) ENTRY OF PLEA AND EXCLUDING
           vs.                  ) TIME
11                              )
     FRANCISCO PARA ARRELLANEZ, )
12                              )
     and JOVANNY ROMO           )
13                              )
     ARRELLANEZ,                )
14                              )
               Defendants.      )
15

16   Plaintiff, United States of America, by and through its counsel of record, and
17
     Defendants Francisco Para Arrellanez and Jovanny Romo Arrellanez, by and
18
     through their counsel of record, hereby stipulate as follows:
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20      1. By previous order, this case was set for entry of plea to be held on April 22,
21         2016.
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        2. By this stipulation, all the undersigned defendants agree to continue the
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24         entry of plea hearing to May 20, 2016, at 9:00 a.m. The parties stipulate that

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 1
        time shall continue to be excluded to May 20, 2016, pursuant to Local Code

 2      T4, for preparation of counsel. Plaintiff does not oppose this request.
 3
     3. The parties agree, stipulate, and request that the Court find the following:
 4
           a. The undersigned defense counsel continue to need time to review
 5

 6            discovery, continue to conduct investigation, and to otherwise prepare
 7
              for trial or sentencing disposition should the defendants be convicted.
 8
           b. Counsel for defendants believe that failure to grant the above-
 9

10            requested continuance would deny them the reasonable time necessary
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              for effective preparation, taking into account the exercise of due
12
              diligence.
13

14         c. Due to the need for attorney preparation, the ends of justice served by
15
              continuing the case as requested outweigh the interest of the public
16
              and the defendants in a criminal trial within the time prescribed by the
17

18            Speedy Trial Act.

19         d. For the purpose of computing time under the Speedy Trial Act, 18
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              U.S.C. § 3161, et seq., within which trial must commence, the time
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22
              until May 20, 2016, is deemed excludable pursuant to 18 U.S.C. §

23            3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
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              continuance granted by the Court at defendants’ request on the basis
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              of the Court’s finding that the ends of justice served by taking such

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                action outweigh the best interest of the public and the defendant in a

 2              speedy trial.
 3
       4. Nothing in this stipulation and order shall preclude a finding that other
 4
          provisions of the Speedy Trial Act dictate that additional periods are
 5

 6        excludable from the period within which a trial must commence.
 7
       IT IS SO STIPULATED
 8
     DATED: April 21, 2016                        /s/ Timothy E. Warriner, Attorney for
 9
                                                  Defendant, Francisco Arrellanez
10
     DATED: April 21, 2016                        /s/ Dina L. Santos for Defendant,
11
                                                  Jovanny Arellanes
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     DATED: April 21, 2016                        /s/ Todd Pickles, Assistant
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                                                  U.S.Attorney
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15
     IT IS SO ORDERED.
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                     Dated: April 22, 2016
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